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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA
                            SOUTH BEND DIVISION

 UNITED STATES OF AMERICA                 )
                                          )
             vs.                          )          No. 3:10-CR-49(2) RM
                                          )
 TREMAINE GRANT                           )


                                      ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendation upon a plea of guilty issued on August 19, 2010 [Doc. No. 54].

 Accordingly, the court now ADOPTS those findings and recommendation,

 ACCEPTS defendant Tremaine Grant’s plea of guilty, and FINDS the defendant

 guilty of Counts 1 and 2 of the Indictment, in violation of 18 U.S.C. §§ 2113(d) and

 2 and 18 U.S.C. § 924(c).

       SO ORDERED.

       ENTERED:      September 14, 2010




                                         /s/ Robert L. Miller, Jr.
                                       Judge
                                       United States District Court
